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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 BRAIDWOOD MANAGEMENT                            §
 INC. et al.,                                    §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              § Civil Action No. 4:20-cv-00283-O
                                                 §
 XAVIER BECERRA et al.,                          §
                                                 §
        Defendants.                              §

                                  MISCELLANEOUS ORDER

       Final Judgment in this case was entered on March 30, 2023 (ECF No. 114). Defendants

filed their Notice of Appeal on March 31, 2023 (ECF No. 115). Defendants waited until April 12,

2023 to file their Motion for Partial Stay of Judgment Pending Appeal (ECF No. 121) in this Court.

Though they waited two weeks to appeal, Defendants nonetheless asked the Court to rule on their

motion to stay within eight days, by April 20, 2023 (ECF No. 121). And even though the Court

has a very crowded docket—including preparing for and then presiding over the trial of a complex

multimillion dollar personal injury trial—the Court expedited briefing on Defendants’ motion for

a partial stay in an attempt to accommodate them (ECF No. 122). This expedited briefing schedule

ultimately caused Plaintiffs to seek an extension, which the Court granted (ECF No. 125).

       Briefing on Defendants’ motion became ripe on April 19, 2023 (ECF No. 128). The Court

indicated it would take up the matter as expeditiously as possible (ECF No. 129). While the Court

was in trial the week of April 24, 2023 and before it could issue a decision on their partial motion,

Defendants filed a Motion to Stay Pending Appeal in the Fifth Circuit. See Motion for Partial Stay

of Final Judgment Pending Appeal, Braidwood Management Inc. v. Becerra, No. 23-10326 (5th

Cir. Apr. 27, 2023), ECF No. 30. Now that Defendants have sought parallel relief from the Circuit,
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the Court REQUESTS briefing by May 9, 2023 regarding the unique procedural posture of this

case. The Fifth Circuit has provided the following jurisdictional guidance once a notice of appeal

has been filed:

           A notice of appeal from an interlocutory order does not produce a complete
           divestiture of the district court’s jurisdiction over the case; rather, it only divests
           the district court of jurisdiction over those aspects of the case on appeal. Our
           caselaw makes this point clearly: “It is the general rule that a district court is
           divested of jurisdiction upon the filing of the notice of appeal with respect to
           any matters involved in the appeal. However, where an appeal is allowed from
           an interlocutory order, the district court may still proceed with matters not
           involved in the appeal.”

Alice L. v. Dusek, 492 F.3d 563, 564–65 (5th Cir. 2007) (per curiam) (cleaned up). Given that the

Defendants’ appeal does not include this Court’s non-decision regarding their motion to stay, the

Court REQUESTS that Defendants brief whether this Court retains jurisdiction over Defendants’

pending motion, now that a parallel motion—and not an appeal of that motion—has been filed.

       SIGNED this 2nd day of May, 2023.



                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




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